Case 3:15-cv-O7658-|\/|AS-LHG Document 412 Filed 01/24/19 Page 1 of 3 Page|D: 12949

UN|TE.D STATES DlSTRICT COURT
FOR TI~IE l)lSTRICT OF NEW .IERSEY

 

lN RE: VALEANT PHARMACEUTICALS Civil Action No. 15-7658
lNTERNA'l`lONAL, INC. SECURITIES
LlTIGATlON JUDGE l\/llCl-|AEL A. Sl lIPP

JUDGE LOlS H. GOODMAN

 

TI~llS DOCUMENT RELATES TO:

lS-cv- l 5286-|\/|AS-LHG (Northwestern
Mulual Lil`e |nsurance Co.)

 

STII’ULA'I`ION ANI) #EE&BQSE:BFI ORI)ER

Wl lF.RF.AS. on Oelober 24, 20!8. Plaintil`i`s in the above-captioned action (lhe "Action")
I`lled a Complaint (the "Complaint") against Va|eant Pharmaccutica|s lnternationa|, lnc., ntk.-"a
Bausch l|ealth Companics Ine. ("Valeant"). .|. Miehac| Pearson. llo\varc| B. Schiller, Robert L.
Rosie|lo. and `l`anya Carro (colleetive|y. "Del`endants_." and together with Plaintil`l`s. the
"Parties");
WHEREAS. counsel l`or Def`endants have agreed to accept service o|` the Comp|aint;
WI ||F,REAS. counsel |`or P|aintil`l`s and Del`endants have conferred and agreed to a
briefing schedule |`or De Fcndants to move to dismiss the Comp|aint;
l'l` lS HERF.BY ST[PULATED AND AGRF.F.D. by the undersigned counsel on heha|I`ol`
the Pal'lies. thal:
(a) All De|`endants will have until Februar)l 8._ 20|9, to move to dismiss the
Comp|ainl; and
(b) ln the event any ol` the Def`endants move to dismiss the Complaint,

P|ainti|`l`s will then have until March 8. 201‘), to oppose Del`endants` motions to dismiss, and

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Del`endants will then have until March 29, 20|9, to tile any replies in support ol` their motions to

dismiss.

DA'|`ED: .|anuary IS. 2019

Stipulated and agreed to hy:
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